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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    MCALLEN DIVISION

    UNITED STATES OF AMERICA,                           §
                                                        §
                               Plaintiff,               §
                                                        §
    v.                                                  §              CASE NO. 7:20-CV-395
                                                        §
    0.532 ACRES OF LAND, MORE OR LESS,                  §
    SITUATE IN STARR COUNTY,                            §
    STATE OF TEXAS; AND MARCOS                          §
    MUNIZ JR, et al.,                                   §
                                                        §
                             Defendants.                §



         OPPOSED MOTION FOR A CONTINUANCE OF THE JOINT DISCOVERY/CASE
            MANAGEMENT PLAN AND THE INITIAL PRETRIAL AND SCHEDULING
                   CONFERENCE PURSUANT TO FED. R. CIV. P. 26(f)



            Assistant United States Attorney, Alexander N. DerGarabedian, on behalf of the United States

of America, respectfully moves for a continuance of the filing of a Joint Discovery/Case

Management Plan and the initial pretrial and scheduling conference scheduled for February 16,

2021.

                                              BACKGROUND

         1. The United States commenced this case on December 4, 2020 by filing the Declaration of

            Taking, which sought to acquire fee simple interest in tracts identified as RGV-RGC-

            5073. 1

         2. On January 22, 2021, the United States deposited $7,600 in the registry of the Court as

            estimated just compensation. Upon deposit of the estimated just compensation, title to the


1
    Dkt. No. 2.


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         tracts identified as - RGV-RGC-5073 vested in the name of the United States by operation

         of law. 2

         Since filing this case, the United States has received 19 waivers of service, 19 disclaimers,

and personally served 10 individuals. Of the 19 individuals who have signed disclaimers, 3 have

been dismissed: Aide P. Pena, Adriana P. Garza, and Librado D. Perez. 3 The United States

continues to effectuate service either through personal service or publication on 46 defendants.

                                                  REQUEST FOR RELIEF

         The United States requests that the Court continue the filing of the Joint Discovery/Case

Management Plan and the initial pretrial and scheduling conference as it will not prejudice any

party of this case. Rather, the United States believes the continuance sought herein will preserve

judicial and party resources based on the following reasons:

         1. This is a federal land condemnation action seeking to acquire property in order “to

              construct, install, operate, and maintain roads, fencing, vehicle barriers, security

              lighting, cameras, sensors, and related structures designed to help secure the United

              States/Mexico border within the State of Texas.” 4

         2. On January 20, 2021, President Joseph R. Biden, Jr. issued a Presidential Proclamation,

              terminating the national emergency at the Southern Border Wall and directing “a

              careful review of all resources appropriated or redirected to construct a southern border




2
  Upon the filing of the Declaration of Taking and depositing the estimated compensation in the Registry of the Court,
the following events occur by operation of law: “1 title to the estate or interest specified in the declaration vests in the
Government; (2) the land is condemned and taken for the use of the Government; and (3) the right to just compensation
for the land vests in the persons entitled to the compensation.” 40 U.S.C. § 3114(b); see E. Tennessee Nat. Gas. Co.
v. Sage, 361 F.3d 808, 825 (4th Cir. 2004) (in a Declaration of Taking Act case, “[t]itle and the right to possession
vest in the government immediately upon the filing of a declaration and the requisite deposit.”).
3
  Dkt Nos. 17, 18, and 41.
4
  Dkt. No. 2, Schedule B.


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               wall” through the development of “a plan for the redirection of funds concerning the

               southern border wall.” 5

           3. The plan for the redirection of funds concerning the southern border wall is expected

               to be developed within 60 days from the date of the proclamation. 6

           4. No action other than service of process/notice will continue at this time until the

               position of the United States is determined.

           5. The United States will continue to diligently serve all named Defendants pursuant to

               Rules 4 and 71.1 of the Federal Rules of Civil Procedure.

           Based on the foregoing, the United States requests that the Court grant this motion and

enter an order continuing the filing of the Joint Discovery/Case Management Plan and the initial

pretrial and scheduling conference for at least 60 days.

                                   CERTIFICATE OF CONFERENCE

           Between January 7, 2021 and January 29, 20201, the undersigned counsel and Assistant

United States Attorney J. Parker Gochenour contacted: Salvador Perez, Aida Marie Perez, Roman

Ruben Perez, Samuel Perez, Michaela Perez, Alberto Alaniz, Felipa Alaniz, Estrella Casas, Alicia

Moreno, Juanita Perez Guerra, Rosalina Perez Garcia, Myra Trinidad Barrera, Merlinda Hinojosa,

and Richard Ochoa, who have thus far been communicating with the United States and are

unopposed to a continuance. The remaining parties remain unserved and as such they are deemed

opposed. The United States has also been unsuccessful in contacting: Aaron Barron, Daniel

Barrera, Jose Alaniz, Jr., Davy Trevino, Andrew Alaniz, Artemio Baldemar Perez, Benito Perez,

Candelaria Perez Ruiz, Solia P. Ramos, Miguel Perez, Benito Perez, Christian Abraham Perez,




5
    Proclamation No. 10142, 86 Fed. Reg. 7225 (Jan. 27, 2021).
6
    Id.


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Delfina Lopez, Juanita Rivas, and Maria Inez Perez Lopez. Alberto Alaniz, Pablo Perez, III,

Patricia Barerra Rocha are also all deceased.



                                                      Respectfully submitted,

                                                      RYAN K. PATRICK
                                                      United States Attorney
                                                      Southern District of Texas

                                                      United States Attorney
                                                By:   s/ Alexander N. DerGarabedian________
                                                      ALEXANDER N. DERGARABEDIAN
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                                                      United States Attorney
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                                                      Facsimile: (956) 618-8016
                                                      Email: alexander.dergarabedian@usdoj.gov
                                                      Attorney in Charge for Plaintiff



                                CERTIFICATE OF SERVICE

       I, Alexander N. DerGarabedian, Assistant United States Attorney for the Southern District

of Texas, hereby certify that on this 3rd day of February 2021, a copy of the foregoing was served

on all parties in accordance with the Federal Rules of Civil Procedure.

                                                      s/ Alexander N. DerGarabedian________
                                                      ALEXANDER N. DERGARABEDIAN
                                                      Assistant United States Attorney




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